Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 1 of 30 PageID #: 1136



                                                  U NI T E D S T A T E S DI S T RI C T C O U R T
                                                     DI S T RI C T O F S O U T H D A K O T A
                                                              W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                           5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                         M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                         v.                                                          F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                                      E XPE RT A N D O R DE R F O R E XPE RT
KI M B E R L E E PI T A W A N A K W A T                                              A C C E S S T O T H E DI S C O V E R Y A N D
                 D ef e n d a nt                                                      E VI D E N C E




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e Ver o ni c a L. D uff y
U nit e d St at es M a gistr at e J u d g e
4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
Si o u x F alls, S D 5 7 1 0 4.


R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

A c c ess t o t h e Dis c o v er y a n d E vi d e n c e f or t h e f oll o wi n g r e as o ns:



I, Ki m b erl e e Pit a w a n a k w at , t h e D ef e n d a nt i n t h e a b o v e c a pti o n e d c as e, r es p e ctf ull y m o v es t his H o n or a bl e

C o urt f or Cri mi n al J usti c e A ct f u n ds t o r et ai n Mr. J o h n Ni x o n, a b allisti cs e x p ert a n d f or a n Or d er

dir e cti n g t h e G o v er n m e nt t o pr o vi d e Mr. Ni x o n n e c ess ar y a c c ess t o all dis c o v er y a n d p h ysi c al e vi d e n c e

n e c ess ar y f or n o n -d estr u cti v e t esti n g , i n cl u di n g t h e s p e nt b ull et a n d f or t h e f oll o wi n g r e as o ns:

       1.    Mr. Ni x o n is a q u alifi e d e x p ert i n fir e ar ms a n d b allisti cs. Pl e as e s e e Mr. Ni x o n’s D e cl ar ati o n a n d

             C urri c ul u m Vit a e, att a c h e d t o t his M oti o n as E x hi bit A.



                                                                       P a g e 1 of 6
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 2 of 30 PageID #: 1137



   2.   I first l o c at e d Mr. Ni x o n i n a p pr o xi m at el y S e pt e m b er or O ct o b er 2 0 2 1 w h e n I w as r e pr es e nt e d

        b y Mr. M c C o y.         Mr. M c C o y t ol d m e t h at h e w o ul d fil e a m oti o n t o r et ai n a n e x p ert if I c o ul d

        l o c at e s o m e o n e s uit a bl e.   Wit h s o m e assist a n c e I w as a bl e t o l o c at e Mr. Ni x o n a n d as k hi m a b o ut

        w or ki n g o n t h e c as e.     Mr. Ni x o n w as willi n g t o assist a n d t h e n s p o k e t o Mr. M c C o y a b o ut

        e v al u ati n g t h e s p e nt b ull et t h at w as l o c at e d i n t h e all e g e d vi cti m’s v e hi cl e i n t h e fr o nt p ass e n g er

        f o ot w ell.     Mr. M c C o y e v e nt u all y r ef us e d t o fil e t h e m oti o n a n d m a d e all ki n ds of e x c us es w h y h e

        w o ul d n ot d o s o, e v e n t h o u g h I t ol d hi m t h at I w a nt e d t o c o n d u ct t h e t esti n g.

   3.   Mr. Ni x o n h as pr o vi d e d a D e cl ar ati o n, w hi c h is att a c h e d t o t his M oti o n, e x pl ai ni n g t h at h e

        “ c o m m u ni c at e d t o Mr. M c C o y t h at it w o ul d b e p ossi bl e t o disti n g uis h a pist ol b ull et fr o m a rifl e

        b ull et a n d t h at mi cr os c o pi c e x a mi n ati o n c o ul d r es ult i n a s h ort list of br a n ds a n d m o d els of

        fir e ar ms t h at c o ul d h a v e fir e d t h at b ull et., ” s e e D ef e n d a nt’s E x hi bit A, p a g e 1, p ar a gr a p h 5. T his

        c o m m u ni c ati o n t o o k pl a c e i n O ct o b er 2 0 2 1, b ut I w as c o m pl et el y u n a bl e t o g et Mr. M c C o y t o

        fil e s u c h a m oti o n or t h e n l at er wit h Mr. Dris c oll w h o w o ul d n ot e v e n dis c uss it wit h m e, e v e n

        t h o u g h I s e nt hi m a fi v e-p a g e l ett er wit h o utst a n di n g w or k t h at n e e d e d t o b e d o n e o n m y c as e t o

        pr e p ar e f or tri al. It is p ossi bl e t h at Mr. Dris c oll w as t o o b us y wit h ot h er c as es h e w as w or ki n g o n .

   4.   Att a c h e d t o t his M oti o n is D ef e n d a nt’s E x hi bit B, w hi c h is t h e l ett er I s e nt Mr. Dris c oll o n A pril

        2 1, 2 0 2 3, s etti n g o ut t h e n e c ess ar y w or k o n m y c as e, i n cl u di n g r ef er e n c es t o r et ai ni n g Mr. Ni x o n

        t o c o n d u ct f or e nsi c t esti n g, i n cl u di n g t esti n g t h e s p e nt b ull et, pl e as e s e e p a g e 2 a n d 3 of E x hi bit

        B w h er e I d et ail a n u m b er of st e ps n e c ess ar y t o g et t h e c as e r e a d y f or tri al.         It t o o k m e a l o n g

        ti m e t o writ e t h e l ett er, w hi c h I b e g a n i n M ar c h b ut w as si c k wit h C O VI D a n d fi n all y s e nt it b y

        c ertifi e d m ail i n A pril. I w o ul d h a v e s e nt it b y e m ail b ut u nf ort u n at el y , at t h at ti m e, Mr. Dris c oll

        r ef us ed t o a c c ept e m ails fr o m cli e nts . I r e c ei v e d n o r es p o ns e t o m y l ett er fr o m Mr. Dris c oll.

   5.   I nst e a d, o n M a y 2 6, 2 0 2 3, Mr. Dris c oll vi ol at e d m y Att or n e y Cli e nt Pri vil e g e b y writi n g a f o ur-

        p a g e l ett er t o M a gistr at e J u d g e W oll m a n n, p ers o n all y att a c ki n g m e, a n d pr es e nti n g i n a c c ur at e

        i nf or m ati o n t o t h e C o urt. At a p pr o xi m at el y t h e s a m e ti m e t h at Mr. Dris c oll s e nt t his l ett er t o t h e

        C o urt, M a gistr at e J u d g e W oll m a n n iss u e d a n or d er s u g g esti n g t h at I mi g ht b e usi n g “ a b usi v e ” or

                                                                 P a g e 2 of 6
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 3 of 30 PageID #: 1138



        “ d el a yi n g t a cti cs. ” Ulti m at el y J u d g e W oll m a n n i n d e p e n d e ntl y d e ci d e d t o r e c us e h ers elf fr o m t h e

        c as e. H o w e v er, t h e c o m m u ni c ati o ns att a c h e d t o t his M oti o n m a k e cl e ar t h at I h a v e c o nsist e ntl y

        d o n e e v er yt hi n g I c a n t o m o v e t his c as e a h e a d a n d g et t h e w or k n e e d e d d o n e t o pr e p ar e m y c as e

        f or tri al.

   6.   I n Mr. Dris c oll’s l ett er, E x hi bit C, Mr. Dris c oll s a ys:

                   “ Ms. Pit a w a n a k w at als o cl ai ms t h at I h a v e r ef us e d “t o g et t h e e vi d e n c e t est e d. ” T h at

                   st at e m e nt is tr u e b ut is b e c a us e t h er e is n o e vi d e n c e, s u c h as t h e w e a p o n t h at Mr. D ull

                   K nif e all e g e dl y us e d t o ass a ult Ms. B ur g e e, t h at n e e ds t o b e t est e d i n or d er t o d ef e n d Ms.

                   Pit a w a n a k w at i n t h e G o v er n m e nt’s c as e a g ai nst h er. Ms. Pit a w a n a k w at als o cl ai ms t h at I

                   h a v e r ef us e d “t o fil e m oti o ns. ” T h at st at e m e nt is als o tr u e, b e c a us e I a m n ot a w ar e of a n y

                   iss u es f or w hi c h a n y m oti o ns n e e d t o b e pr e p ar e d a n d fil e d. Ms. Pit a w a n a k w at als o

                   cl ai ms t h at I r ef us e d “t o s u b p o e n a wit n ess es. ” Alt h o u g h t h e d e cisi o n ti m e f or r e q u esti n g

                   s u b p o e n as h as n ot y et arri v e d, I a m o nl y a w ar e of o n e p ot e nti al wit n ess w h o mi g ht n e e d

                   t o b e s u b p o e n a e d t o t estif y f or t h e d ef e ns e. Ms. Pit a w a n a k w at h as n ot t ol d m e

                   s p e cifi c all y of a n y o n e w h o s h e t hi n ks s h o ul d b e s u b p o e n a e d or e x pl ai n e d t o m e w h y s h e

                   t hi n ks t h eir t esti m o n y w o ul d b e h el pf ul. ” S e e E x hi bit C t o t his M oti o n p a g es t hr e e a n d

                   f o ur.

   7.   Mr. Dris c oll h as r e p e at e dl y misi nf or m e d t h e C o urt a n d pr o vi d e d i nf or m ati o n t h at is n ot a c c ur at e .

        T h er e ar e m a n y p ot e nti al wit n ess es t h at n e e d t o b e i nt er vi e w e d a n d s e v er al wit n ess es t h at I will

        n e e d t o c all at tri al f or t h e D ef e ns e. T h er e ar e s e v er al a d diti o n al m oti o ns t h at I pl a n t o fil e t h at

        ar e dir e ctl y r el e v a nt t o t h e d ef e ns e of t his c as e b ut ar e b e y o n d t h e s c o p e of t his m oti o n b ut ar e

        m att ers t h at I dis c uss e d wit h b ot h Mr. M c C o y a n d Mr. Dris c oll as c a n b e s e e n fr o m m y fi v e-p a g e

        l ett er t o Mr. Dris c oll. I als o h a v e e xt e nsi ve r e c or ds of m y c o m m u ni c ati o ns wit h Mr. M c C o y t h at

        I c a n pr o vi d e t o t h e C o urt t o est a blis h t h at a n y d el a y u p t o n o w h as b e e n c a us e d b y t h e

        d efi ci e n ci es of m y pri or c o urt a p p oi nt e d c o u ns el a n d ar e n ot attri b ut a bl e t o m e.



                                                                 P a g e 3 of 6
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 4 of 30 PageID #: 1139



   8.   F or e x a m pl e, I h a v e r e p e at e dl y r e q u est e d a c c ess t o a c o p y of Is ai a h Cr o w’s b o d y c a m f o ot a g e a n d

        d as h c a m f o ot a g e i n a f or m at t h at is vi e w a bl e t o m e. T h e pr e vi o us c o pi es h a v e n ot b e e n

        vi e w a bl e. I h a v e n ot r e q u est e d dir e ct a c c ess t o t his i nf or m ati o n b ut s u p er vis e d a c c ess at t h e

        F e d er al P u bli c D ef e n d ers offi c e h er e i n Or e g o n, w h er e I h a d alr e a d y vi e w e d e vi d e n c e f or

        a p pr o xi m at el y 2 0 pl us h o urs.

   9.   T h e ot h er misr e pr es e nt ati o ns i n Mr. Dris c oll’s l ett er t o t h e C o urt ar e b e y o n d t h e s c o p e of t his

        M oti o n. I h a v e r e q u est e d Mr. Dris c oll’s assist a n c e b y e m ail i n t h e fili n g of m oti o ns, w hil e m y

        m oti o n f or E C F a c c ess w as p e n di n g wit h t h e C o urt. Mr. Dris c oll h as n ot r es p o n d e d t o a n y of m y

        e m ails, b ut h e di d c o nt a ct m e d uri n g t h e pr e p ar ati o n of t his i nst a nt M oti o n a n d a d vi s ed m e t h at

        h e di d fil e m y M oti o n f or E C F a c c ess a n d t h at it w as gr a nt e d. I a m gr at ef ul f or his assist a n c e

        wit h t h at m att er a n d f or t h e C o urt ’s t ext or d er gr a nti n g t h e M oti o n .

   1 0. I c o nti n u e t o r e q u est Mr. Dris c oll’s assista n c e wit h t h e fili n g of m y Pr o S e M oti o ns u ntil I c a n b e

        pr o vi d e d wit h t h e cr e d e nti als n e c ess ar y t o all o w m e t o a c c ess t h e s yst e m , p arti c ul arl y gi v e n t h e

        c ur r e nt pr essi n g d e adli n es.

   1 1. Mr. Ni x o n pr e vi o usl y pr o vi d e d m e wit h a n esti m at e of $ 7, 0 0 0 t o u n d ert a k e all t h e w or k n ee d e d

        t o c o n d u ct t his t esti n g, w hi c h is n e c ess ar y f or t h e d ef e ns e of t his c as e. I t h er ef or e r es p e ctf ull y

        m o v e t his H o n or a bl e C o urt t o m a k e Cri mi n al J usti c e A ct f u n ds a v ail a bl e f or t his p ur p os e.

   1 2. C o ntr ar y t o Mr. Dris c oll’s a n d Mr. M c C o y ’s cl ai m s, t his w or k is ess e nti al t o pr es e nt a d ef e ns e at

        tri al. I n C o u nt I V of t h e I n di ct m e nt, I a m a c c us e d of m a ki n g a f als e st at e m e nt t o f or m er O S T P S

        CI P u c k ett. I n t h e G o v er n m e nt’s M e m or a n d u m i n O p p ositi o n t o D ef e n d a nt’s M oti o n t o S e v er,

        S e e D o c k et N o. 1 5 1 at t h e b ott o m of p a g e t hr e e a n d t o p of p a g e f o ur t h e G o v er n m e nt st at es:

                  “t h e d ef e n d a nt m a ki n g f als e r e p orts t o l a w e nf or c e m e nt t h at t h e c o -d ef e n d a nt h a d n ot

                  b e e n pr es e nt at t h eir s h ar e d r esi d e n c e o n t h e d at e of t h e all e g e d ass a ults a n d t h at n o

                  s h o oti n g o c c urr e d o n t h e pr o p ert y, w h e n t h e d ef e n d a nt k n e w t h os e st at e m e nts t o b e

                  u ntr u e. ”



                                                                P a g e 4 of 6
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 5 of 30 PageID #: 1140



       1 3. It is cl e ar fr o m t h e G o v er n m e nt’s pl e a di n g t h at t h e y will att e m pt t o pr o v e t h at Mr. G e or g e D ull

             K nif e w as pr es e nt at t h e h o us e a n d t h at I w as a w ar e of a s h o oti n g o n t h e pr o p ert y. T h e

             G o v er n m e nt’s pri m ar y wit n ess i n t his c as e is a j ail h o us e i nf or m a nt n a m e d I a n D ull K nif e, w h o

             w as i nt er vi e w e d i n t h e j ail b y CI P u c k ett, a n d u p o n i nf or m ati o n a n d b eli ef r el e as e d fr o m j ail. I a n

             D ull K nif e’s st at e m e nt w as a u di o r e c or d e d . I a n D ull K nif e t ol d f or m er CI P u c k ett t h at h e

             wit n ess e d G e or g e D ull K nif e s h o ot at t h e B ur g e e v e hi cl e m ulti pl e ti m es wit h a n A R 1 5 rifl e a n d

             t h at h e s a w G e or g e D ull K nif e gi v e t h e A R 1 5 t o m e.

      1 4. If t esti n g c o n d u ct e d b y Mr. Ni x o n c a n est a blis h t h at t h e s p e nt b ull et ( w hi c h a p p e ar e d t o b e

             bl o o dst ai n e d fr o m t h e p h ot os I s a w i n dis c o v er y) f o u n d i n t h e B ur g e e v e hi cl e di d n ot c o m e fr o m

             a n A R 1 5 w e a p o n it will est a blis h t h at I a n D ull K nif e is l yi n g a b o ut t his cr u ci al f a ct a n d will

             c a us e ot h er si g nifi c a nt iss u es f or t h e G o v er n m e nt’s c as e. T h e s e ar c h w arr a nt iss u e d i n t his c as e

             w as f o u n d e d u p o n a pr o b a bl e c a us e affi d a vit fr o m a n F BI a g e nt w h o ass ert e d t h at t h e w e a p o n

             us e d i n t his s h o oti n g w as a n A R 1 5 rifl e, s o t esti n g b y Mr. Ni x o n m a y u n d er c ut t h e G o v er n m e nt’s

             pr o b a bl e c a us e f or t h e ori gi n al s e ar c h .

      1 5. T his M oti o n is m a d e t o c orr e ct t h e r e c or d pr e vi o usl y m a d e b y D ef e n d a nt’s c o urt a p p oi nt e d

             c o u ns el a n d est a blis h t h at D ef e n d a nt h as c o nsist e ntl y r e q u est e d i n v esti g ati o n a n d e x a mi n ati o n of

             t h e e vi d e n c e i n t his c as e t o pr e p ar e t h e c as e f or tri al. T his m oti on is n ot m a d e f or t h e p ur p os e of

             d el a y.



W H E R E F O R E D ef e n d a nt p r a ys t his C o urt f or its Or d er f or Cri mi n al J usti c e A ct f u n ds t o r et ai n Mr. J o h n

Ni x o n, a b allisti cs e x p ert a n d f or a n Or d er dir e cti n g t h e G o v er n m e nt t o pr o vi d e Mr. Ni x o n n e c ess ar y

a c c ess t o all dis c o v er y a n d p h ysi c al e vi d e n c e n e c ess ar y f or n o n -d estr u cti v e t esti n g of t h e s p e nt b ull et.



D at e d t his 1 3 t h d a y of J u n e 2 0 2 3


///
///

                                                                          P a g e 5 of 6
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 6 of 30 PageID #: 1141




R es p e ctf ull y ,

/ s / Ki m berlee Pit a w a n a k w at

Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m


c c: H e at h er S a z a m a, Assist a nt U nit e d St at es Att or n e y, Distri ct of S o ut h D a k ot a, vi a e m ail:
H e at h er. S a z a m a @ us d oj. g o v




                                                                P a g e 6 of 6
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 7 of 30 PageID #: 1142



                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                            W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                  5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                   M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                        v.                                                     F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                               E XPE RT A N D O R DE R F O R E XPE RT
KI M B E R L E E PI T A W A N A K W A T                                        A C C E S S T O T H E DI S C O V E R Y A N D
                D ef e n d a nt                                                E VI D E N C E




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e Ver o ni c a L. D uff y
U nit e d St at es M a gistr at e J u d g e
4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
Si o u x F alls, S D 5 7 1 0 4.


R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

A c c ess t o t h e Dis c o v er y a n d E vi d e n c e :




                                      E X HI BI T A

                                                                   P a g e 1 of 1
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 8 of 30 PageID #: 1143



                                                 U NI T E D S T A T E S DI S T RI C T C O U R T

                                                     DI S T RI C T O F S O U T H D A K O T A

                                                              W E S T E R N DI VI SI O N

U NI T E D S T A T E S O F A M E RI C A                                            :

Pl ai ntiff                                                                        :

v.                                                                                 :     C RI MI N A L C A S E # 5: 2 0 -C R -5 0 1 2 2

KI M B E R L E E PI T A W A N A K W A T                                            :

D ef e n d a nt                                                                    :



                                                   D E C L A R A TI O N O F J O H N NI X O N

                                               V al u e of P r oj e ctil e E vi d e n c e E x a mi n ati o n

      1.      M y n a m e is J o h n Ni x o n.

      2.      I a m a B o ar d C ertifi e d F or e nsi c E n gi n e eri n g S ci e ntist s p e ci ali zi n g i n w e a p o ns s yst e ms r es e ar c h

              & liti g ati o n s u p p ort. I h a v e t e c h ni c al e x p ertis e i n t h e ar e as of fir e ar ms, b allisti cs, a m m u niti o n,

              m u niti o ns, e x pl osi v es, a n d r el at e d ar e as. M y B o ar d C ertifi c ati o n is iss u e d b y t h e I nt er n ati o n al

              B o ar d of F or e nsi c E n gi n e eri n g S ci e n c es (I B F E S), a n or g a ni z ati o n A c cr e dit e d b y t h e F or e nsi c

              S p e ci alti es A c cr e dit ati o n B o ar d ( F S A B).

      3.      M y e d u c ati o n a n d e x p eri e n c e ar e s et f ort h i n m y C urri c ul u m Vit a e, d at e d D e c e m b er, 2 0 2 2, w hi c h

              is att a c h e d t o t his D e cl ar ati o n. I c ertif y t h at t h e i nf or m ati o n wit hi n t h at d o c u m e nt is c orr e ct a n d

              c o nstit ut es a n a c c ur at e s y n o psis of m y e d u c ati o n, tr ai ni n g, a n d e x p eri e n c e.

      4.      D uri n g O ct o b er of 2 0 2 1 I c o n v ers e d wit h att or n e y J o n at h a n P M c C o y Es q o n s e v er al o c c asi o ns

              r e g ar di n g p ossi bl e e x a mi n ati o n of a b ull et ( pr oj e ctil e) r e c o v er e d d uri n g t h e i n v esti g ati o n of t h e

              a b o v e c a pti o n e d m att er. I s e nt Mr M c C o y a c o p y of m y C V.

      5.      I c o m m u ni c at e d t o Mr M c C o y t h at it w o ul d b e p ossi bl e t o disti n g uis h a pist ol b ull et fr o m a rifl e

              b ull et, a n d t h at mi cr os c o pi c e x a mi n ati o n c o ul d r es ult i n a s h ortlist of br a n ds a n d m o d els of

              fir e ar ms t h at c o ul d h a v e fir e d t h at b ull et.
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 9 of 30 PageID #: 1144
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 10 of 30 PageID #: 1145
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 11 of 30 PageID #: 1146
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 12 of 30 PageID #: 1147
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 13 of 30 PageID #: 1148
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 14 of 30 PageID #: 1149
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 15 of 30 PageID #: 1150
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 16 of 30 PageID #: 1151
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 17 of 30 PageID #: 1152
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 18 of 30 PageID #: 1153



                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                            W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                  5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                   M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                        v.                                                     F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                               E XPE RT A N D O R DE R F O R E XPE RT
KI M B E R L E E PI T A W A N A K W A T                                        A C C E S S T O T H E DI S C O V E R Y A N D
                D ef e n d a nt                                                E VI D E N C E




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e Ver o ni c a L. D uff y
U nit e d St at es M a gistr at e J u d g e
4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
Si o u x F alls, S D 5 7 1 0 4.


R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

A c c ess t o t h e Dis c o v er y a n d E vi d e n c e :




                                      E X HI BI T B

                                                                   P a g e 1 of 1
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 19 of 30 PageID #: 1154




 Ki m b erl e e Pit a w a n a k w a
 2 6 21 4 F o st er R d.
  M o nr o e, O R 9 7 4 5 6
 st or mi. pit a w a n a k w at @ p m. m e


 1 7t h of    M ar c h, 2 0 2 3


  Dri s c oll L a w O ﬃ c e, P. C.

  Fr a n k Dri s c oll, L a w y er
 11 0 7 Mt, R u s h m or e R d. S uit e # 4 B
  P. O. B o x 2 21 6
  R a pi d Cit y, S D 5 7 7 0 9



  D e ar Fr a n k,

  H ell o,

   T hi s c a s e i s a h ar d s hi p o n m e a n d m y f a mil y. N ot h a vi n g g o o d c o m m u ni c ati o n
i s a n a d diti o n al h ar d s hi p o n m e. W h y i s it i a m e x p e ct e d t o k e e p u p wit h t hi s
 c a s e wit h o ut a d e q u at e c o m m u ni c ati o n or i nf or m ati o n ? It h a s f or s ur e c a u s e d
  m e a n d m y f a mil y a d diti o n al u n n e c e s s ar y h ar d s hi p s t hr o u g h o ut t h e s e f e w
 y e ar s d uri n g t h e C o vi d p a n d e mi c c o n st a ntl y b ei n g si c k a n d g oi n g t hr o u g h
 e m oti o n al tr a u m a h a s h a d it s t oll o n m y h e alt h. I h a v e d o c u m e nt e d st at e m e nt s
fr o m m y pri m ar y p h y si ci a n.

 Bri ef f oll o w u p:

 I h a v e n't h e ar d a n yt hi n g i n o v er a m o nt h a b o ut a n y pr o gr e s s o n m y c a s e wit h
t h e di s c o v er y r e vi e w a n d t h e i n d e p e n d e nt d ef e n s e i n v e sti g ati o n. W h er e ar e
  w e wit h t h e di s c o v er y r e vi e w ? I h o p e all i s w ell wit h t h e r e vi e w of di s c o v er y ?
  H a v e y o u b e e n a bl e t o li st e n t o all t h e a u di o r e c or di n g s y et ? W h at ar e y o ur
t h o u g ht s ? I n e e d t o k n o w m or e w h er e w e ar e at wit h o ur i n d e p e n d e nt
i n v e sti g ati o n ? I a m r e q u e sti n g y o u p ut i n a r e q u e st t o o bt ai n a n d s e c ur e a
  D ef e n s e i n v e sti g at or t o h el p c o n d u ct i nt er vi e w s of p ot e nti al wit n e s s e s a n d t o
 pr o p erl y pr e p ar e f or tri al.

 H o p ef ull y w e ar e o n t h e s a m e p a g e s o o n. I a m r e s p e ctf ull y p utti n g it i n writi n g
 d at e d o n t hi s 1 8t h d a y of A pril of 2 0 2 3 i n h o p e s y o u will r e s p o n d a c c or di n gl y :

   M y f oll o w u p q u e sti o n s of t h e l a st f e w c o n v er s ati o n s w e h a d wit h w h at i
l e ar n e d t h at n e e d s t o b e d o n e o v er t h e c o ur s e of ti m e o n m y c a s e d uri n g pr e
tri al:
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 20 of 30 PageID #: 1155




        C a n y o u pl e a s e a s k t h e g o v er n m e nt / pr o s e c uti n g att or n e y t o b e m or e
       s p e ci ﬁ c a b o ut “ w h at t h e all e g e d f al s e st at e m e nt s ar e ?” W h at i s t h e
        G o v er n m e nt' s c a s e ? ? D o y o u h a v e a b ett er i d e a of w h at i s g oi n g o n
       h er e ? . I n e e d i n writi n g w h at t h eir c a s e i s ?



        H a v e y o u b e e n a bl e t o r e vi e w t h e I a n D ull K nif e a ut o st at e m e nt ?

            ●      H a v e y o u b e e n a bl e t o r e vi e w t h e ot h er t w o h a n d writt e n
                  st at e m e nt s D et e cti v e P u c k ett e all e g e dl y t o o k fr o m D a ni el
                   D ull K nif e a n d G u y Willi a m D ull K nif e d o c u m e nt e d i n t h e
                  di s c o v er y ? W h er e ar e t h o s e r e p ort s ?
            ●      Ar e t h e y c alli n g I a n D ul K nif e a n d t h e ot h er wit n e s s e s at tri al ?
            ●       A g ai n I a m a s ki n g a n d r e q u e sti n g t o hir e a n i n v e sti g at or o n m y
                  c a s e t o c o n d u ct a n i n d e p e n d e nt i n v e sti g ati o n s e p ar at e fr o m
                 t h e g o v er n m e nt s. It i s r e q uir e d a n d it i s d etri m e nt al t o a n
                  e ﬀ e cti v e d ef e n s e t e a m m a ki n g it e s s e nti al t o h a v e pr o p er
                  pr e p ar ati o n a n d d ef e n s e str at e gi e s i n pl a c e i n ti m e f or tri al.

                 I' m C o n c er n e d t o o m u c h ti m e i s g oi n g b y a n d n ot e n o u g h
                  gr o u n d c o v er e d i n ti m e b ef or e tr ail. W e n e e d a n i n v e sti g at or
                  a s si g n e d t o t hi s c a s e. ( I h a v e a n i n v e sti g at or/ e x p ert i n mi n d
                   w h o h a s e xt e n si v e e x p eri e n c e wit h p a g e s of c erti ﬁ c ati o n s t h at
                  q u alif y hi m t o d o s o. Hi s n a m e i s “J o h n Ni x o n” . I h a v e hi s
                  cr e d e nti al s t h at c a n b e pr o vi d e d. I k n o w h e w o ul d b e h a p p y t o
                 t al k wit h y o u. Mr. Ni x o n pr e vi o u sl y h a d b e e n i n c o nt a ct b y a n d
                 t hr o u g h m y Att or n e y J o h n at h a n M c C o y w h o b ot h w e nt o v er
                  a n d h a s l o o k e d at t h e 3 D i m a g e s i n t h e di s c o v er y. All t h e
                  e vi d e n c e n e e d s t o b e pr o p erl y t e st e d Mr. Ni x o n i s t h at p er s o n. I
                  c a n pr o vi d e hi s c o nt a ct s u p o n r e q u e st.

        T h er e i s a l ot J o h n Ni x x o n c a n d o. I H a v e q u e sti o n s a b o ut t h e m e di c al
      r e p ort a n d if t h er e w a s a t o xi c ol o g y t e st t a k e n t h at ni g ht.

         W h at w er e h er t o xi c ol o g y t e st s if s o ? T h e s p e nt b ull et t h e v e hi cl e of t h e
       all e g e d vi cti m s t h at w a s r el e a s e d b ef or e d ef e n s e h a d t h e o p p ort u nit y
      t o l o o k at w hi c h c o ul d b e gr o u n d s of di s mi s s al b a s e d o n o b str u cti o n of
       e vi d e n c e.

        C ar m e n B ur g e e st at e d i n t h e i nt er vi e w wit h K e vi n S e y m o ur t h at s h e
       gi v e s p er mi s si o n f or i n v e sti g ati o n p ur p o s e s t o r el e a s e a n y m e di c al
      r e c or d s. HI P A A s h o ul d n ot b e a pr o bl e m. T hi s w a s a l at e di s cl o s ur e t o
        m e I c o ul d h a v e u s e d i n m y s u p pr e s si o n h e ari n g a s I h a v e t h e ri g ht t o
       k n o w w h o m y a c c u s er s ar e. N ot e t hi s c o ul d h a v e al s o vi ol at e d m y d u e
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 21 of 30 PageID #: 1156



            pr o c e s s w h e n a g o v er n m e nt h ar m s a p er s o n wit h o ut f oll o wi n g t h e
            e x a ct c o ur s e of l a w, t hi s c o n stit ut e s a d u e pr o c e s s vi ol ati o n, w hi c h
            o ﬀ e n d s t h e r ul e of l a w.

              Q u e sti o n s y et t o b e a n s w er e d a b o ut:

                 ●     T e sti n g of t h e s p e nt b ull et f o u n d i n t h e p a s s e n g er f o ot w ell a n d
                       gl a s s f o u n d i n t h e dri v e w a y. D ar ell e P u c k ett e st at e m e nt i n t h e
                       s u p pr e s si o n h e ari n g a n d t h e i a g e nt s s u m m ar y a n d a ﬃ d a vit
                       s u b mitt e d t o t h e M a gi str at e c o n ﬂi ct) C a n w e pl e a s e g et it
                      t e st e d ?
                 ●       W h at i s t h e tr u e st or y of cri mi n al i n v e sti g at or D er e k P u c k ett e ?
                         W h y i s h e n o l o n g er w or ki n g wit h O S T P S a s a Cri mi n al
                      I n v e sti g at or ( CI) ( t hi s i s Br a d y i nf or m ati o n a n d c o n si st s of
                       e x c ul p at or y or i m p e a c hi n g i nf or m ati o n t h at h a s n ot y et b e e n
                       pr o vi d e d t o m e a n d vi ol at e s m y D u e Pr o c e s s a n d ulti m at el y
                       o ﬀ e n d s t h e r ul e of l a w. ) D er e k P u c k ett e c o ul d b e c hi ef wit n e s s
                       at tri al.
                 ●      C a n w e g et all a n d a n y 911 tr a n s cri pt s (( w er e t h er e a n y ot h er
                       s h o oti n g s i n t h e ar e a ar o u n d t h at ti m e fr a m e ?)) i n a d diti o n t o
                      I si a h Cr o w' s c all t o di s p at c h ?
                 ●      C a n w e g et t h e a u di o vi d e o of O ﬃ c er I si a h Cr o w s f o ot a g e
                        w h e n h e t o o k i n ci d e nt c o m m a n d b ef or e E M Ts arri v e d o n
                       8/ 5/ 2 0 2 0
                 ●     F BI r e p ort s fr o m s p e ci al a g e nt S e y m o ur a n d I si a h Cr o w' s
                       s u m m ar y i n t h e di s c o v er y ar e t w o di ﬀ er e nt st ori e s; t hi s i s w h y it
                      i s i m p ort a nt t o s e e O ﬃ c er I si a h Cr o w’ s vi d e o s I h a v e b e e n
                      r e q u e sti n g si n c e F e br u ar y of 2 0 21.
                 ●    I l e ar n e d t h at H e nr y O’ d o n o g o u g h i s n ot o n m y c a s e a n y m or e.
                      I p er s o n all y. h a v e n ot h e ar d fr o m Mr O’ D o n o h o u g h si n c e 2 0 2 2
                       u p u ntil r e c e ntl y w h e n I r e a c h e d o ut i n r e g ar d s t o h a vi n g a
                       q u e sti o n f or hi m.. A d diti o n all y I k n o w a n i n d e p e n d e nt o n g oi n g
                       d ef e n s e i n v e sti g ati o n s h o ul d h a v e still b e e n a cti v e a n d o n g oi n g
                       a n d h a s n ot. Mr O’ D o n o h o u g h h a d i n di c at e d h e w a s n ot t h e
                      i n v e sti g at or f or m y c a s e a n y m or e a n d w a s di s mi s s e d wit h t h e
                       pr e vi o u s att or n e y a p p oi nt e d t o m y c a s e Mr. M c C o y.

I di d n ot s e e all of t h e r e p ort s fr o m Mr O’ D o n o h o u g h. T h er e w er e ot h er
  wit n e s s e s h e t al k e d wit h i n p arti c ul ar A n gi e D ull k nif e w h o Mr O' D o n o g h u e h a d
 g o n e a n d i nt er vi e w e d at t h e D ull K nif e s r e si d e n c e h er i nt er vi e w w a s n ot t h er e.

 H a v e y o u tri e d t o c o nt a ct W a s k o n e s s Pit a w a n a k w at ? S h e w a s t h er e wit h m e
t h e w h ol e ti m e u ntil l a w e nf or c e m e nt c a m e a n d d et ai n e d m e a n d m y c hil dr e n.
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 22 of 30 PageID #: 1157




  I will n ot b e r u s h e d i nt o tri al m o vi n g f or w ar d u n pr e p ar e d. I n e e d t o b e m or e
 a w ar e of w h er e w e ar e i n t h e pr e-tri al pr o c e s s. T h er e i s a l ot y et t o b e d o n e
 a n d n ot hi n g h a s h a p p e n e d.

 I k n o w y o u ar e d oi n g y o ur b e st b ut t h er e i s still a l ot t o b e l e ar n e d h er e a n d
t h e i nf or m ati o n i s n ot b ei n g pr o vi d e d.

 T h er e h a v e b e e n m a n y vi ol ati o n s a n d mi s st at e m e nt s d uri n g pr o c e e di n g s a n d
  mi sl e a di n g sit u ati o n s c a u si n g m e a n u nf air c h a n c e i n a n y pr o c e e di n g s wit h
 bi a s e d r e m ar k s t h at n o j u d g e or g o v er n m e nt o ﬃ ci al h a s t h e ri g ht vi ol at e d i n
 a n y w a y. I a m i n n o c e nt a n d r e g ar dl e s s of i n n o c e n c e d e s er v e t o b e tr e at e d
f airl y i n a n y sit u ati o n..

 T h er e ar e m a n y t hi n g s w e c a n d o d uri n g pr e-tri al a n d n ot hi n g i s b ei n g d o n e at
t hi s p oi nt..

  I h a v e li v e d i n t hi s st a g n a nt st at e f or j u st u n d er 3 y e ar s. Wit h i n di vi d u al s all
  w or ki n g t o c o n vi ct m e f or a cri m e I di d n ot c o m mit. It h a s ulti m at el y b e e n a
  mi s c arri a g e of j u sti c e.

 I n e e d t h e tr ut h t o b e t ol d. I n e e d a n e ﬀ e cti v e d ef e n s e t e a m a n d pr o p er
 c o m m u ni c ati o n i s a pill ar t o t h at t e a m. I a m b ei n g f or c e d t o st a n d tri al f or a
 cri m e I di d n ot h a v e a n y k n o wl e d g e t o o k pl a c e n or di d I c o m mit a cri m e t o
 gi v e t h e g o v er n m e nt t h e a ut h orit y t o r e g ul at e m e. T h eir st or y k e e p s c h a n gi n g.
  N o s e v er a n c e w a s h o n or e d s o all t h e c h ar g e s m y c o d ef e n d a nt w a s c h ar g e d
 o n c a n b e a p pli e d t o m y c h ar g e s if I a m c o n vi ct e d. J o n at h a n M c C o y t ol d m e
t hi s a n d if it i s n ot tr u e h e mi sl e d m e. T hi s i s w h y t h e t e sti n g of t h e b ull et d o e s
 a p pl y t o m y c a s e if t h e y c o n vi ct e d m e m y c o d ef e n d a nt s c h ar g e s c a n b e
 a d d e d t o m y c h ar g e s. B y t e sti n g t h e b ull et it w o ul d ulti m at el y pr o v e t h at it di d
 n ot c o m e fr o m a n A R 1 5.

 I w o ul d li k e t o r e q u e st R e a s o n a bl e A c c o m m o d ati o n t o b e a bl e t o
 c o m m u ni c at e wit h y o u m or e e ﬀ e cti v el y vi a E m ail r e g ar di n g t h e di s c o v er y a n d
 a n y ot h er ur g e nt c o m m u ni c ati o n n e e d e d.. C o m m u ni c ati o n i s vit al. W e s h o ul d
 h a v e e v er y s o oft e n a vi d e o c o nf er e n c e of s o m e s ort ?

 I still h a v e s o m a n y q u e sti o n s a n d di s c o v er y t h at h a s n ot b e e n pr o vi d e d t o m e
 y et t h er e i s al ot wr o n g wit h t h e g o v er n m e nt' s c a s e t h at I a m w ell a w ar e of.

   m a n y di s cr e p a n c y i n m y di s c o v er y a n d wit h t h e r e vi e w of I si a h Cr o w' s b o d y
  c a m f o ot a g e t h at i s n ot a u dit a bl e y et t o d at e f or st art s. T hi s f o ot a g e h a s n ot
  b e e n a c c e s si bl e si n c e t h e v er y b e gi n ni n g of M ar c h 2 0 21. I h a v e c o nti n u e d t o
 r e q u e st t hi s b e pr o vi d e d t o m e a g ai n a n d a g ai n a n d still n ot hi n g.

 T hi s i s i m p ort a nt b e c a u s e I si a h Cr o w w a s ﬁr st o n s c e n e wit h t h e all e g e d
 vi cti m s. M c C o y r ef u s e d t o pr o vi d e m e wit h a n a u dit a bl e v er si o n s o I c o ul d vi e w
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 23 of 30 PageID #: 1158



 hi s b o d y c a m er a f o ot a g e. Mr M c C o y t ol d m e I w o ul d h a v e t o c o m e t o hi s o ﬃ c e
 b ut n e v er c o m m u ni c at e d wit h m e w h at t h e vi d e o c o n si st e d of or if h e w a s a bl e
t o vi e w it t h e g o v er n m e nt i s o bli g at e d t o pr o vi d e a n a u di bl e v er si o n a n d h a s
 n ot t o m y k n o wl e d g e.

 I si a h Cr o w t o o k i n ci d e nt c o m m a n d o n t h e r o a d si d e of BI A 2 a p pl yi n g
 e m er g e n c y c ar e u ntil p ar a m e di c s c a m e aft er t h e all e g e d s h o oti n g t o o k pl a c e
 o n S e pt e m b er 1 7t h 2 0 2 0 h e w o ul d h a v e u s ef ul i nf or m ati o n a n d h e at of t h e
  m o m e nt ﬁr st c o nt a ct wit h all e g e d vi cti m C ar m e n B ur g e e.

 I a s s ert m y s elf i n h o p e s y o u d o n ot t a k e m y r e q u e st s wr o n g a n d i n r et ur n d o
t h e ri g ht t hi n g pl e a s e d o t h e w or k t o g et m e t h e i nf or m ati o n.

    C a n y o u pl e a s e r e q u e st all p oli c e r e p ort s o n I a n D ull k nif e ? H e cl e arl y st at e s
t h at h e s e e s G e or g e D ull K nif e h a n d m e a n A R1 5, w hi c h i s w h y it i s r el e v a nt t o
 h a v e t h e s p e nt b ull et t e st e d a n d pr o v e t h at it di d n ot c o m e fr o m a n A R1 5. I a n
  D ull k nif e h a d w arr a nt s o ut f or hi s arr e st d uri n g t h e s u m m er of 2 0 2 0 f or a g u n
 vi ol ati o n h e li e d a b o ut. A g ai n h e i s a wit n e s s t h at c o ul d b e c all e d b ut al s o a n y
f a v or a bl e i nf or m ati o n a b o ut I a n D ull k nif e s cri mi n al r e c or d c o ul d f all u n d er t h e
  Br a d y r ul e.

I t hi n k I a n D ull K nif e w a s gi v e n a d e al of s o m e s ort t o li e a n d h e s h o ul d b e h el d
 a c c o u nt a bl e a n d c h ar g e d wit h p erj ur y a n d a n y ot h er f al s e wit n e s s t e sti m o ni e s
 s u b mitt e d t o t h e gr a n d j ur y b y D et e cti v e P u c k ett e t hi s i s w h y it i s i m p ort a nt t o
 h a v e a c c e s s t o D er e k P u c k ett' s ﬁl e. L a stl y, I w a nt e d t o k n o w if y o u f o u n d o ut
  w h e n I c a n r e vi e w t h e gr a n d j ur y tr a n s cri pt s ? I h a v e r e a s o n t o b eli e v e t h at
f al s e t e sti m o n y w a s i ntr o d u c e d a n d a ﬀ e ct e d t h e i n d e p e n d e nt d e ci si o n m a ki n g
 of t h e gr a n d j ur y. I' v e d o n e m y r e s e ar c h. I c o nt a ct e d t h e s u p eri or c o urt i n
 Pi err e a n d a s k e d t h e cl er k of c o urt s h o w t o pr o c e e d si n c e I a m b o u n d b y l e g al
 c o u n s el. I a m r e s p e ctf ull y a s ki n g y o u t o r e q u e st t hi s. It c a n b e d o n e
 b ef or e h a n d, n ot t w o w e e k s pri or t o tri al, t h at i s n ot e n o u g h ti m e t o g o o v er
t hi n g s pr o p erl y. I c a n writ e a n d a s k t h e c o urt s m y s elf. T h er e i s n o r ul e t h at
 st at e s or pr e v e nt s m e fr o m d oi n g s o a n d I r ef u s e t o b e mi sl e d t hi n ki n g t h e
 o pti o n i s n ot a v ail a bl e u nl e s s y o u c a n pr o vi d e m e wit h o ﬃ ci al d o c u m e nt s
 st ati n g t h e di ﬀ er e n c e. T h a n k y o u f or y o ur ti m e a n d c o n si d er ati o n t o t h e s e
  m att er s a n d I l o o k f or w ar d t o h e ari n g b a c k fr o m y o u s o o n.



 Si n c er el y & R e s p e ctf ull y,

 Ki m b erl e e S. Pit a w a n a k w at

 st or mi. pit a w a n a k w at @ p m. m e
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 24 of 30 PageID #: 1159
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 25 of 30 PageID #: 1160
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 26 of 30 PageID #: 1161



                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                            W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                  5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                   M O TI O N F O R CJ A F U N DI N G T O R E T AI N
                        v.                                                     F O R E N SI C FI R E A R M S A N D B A L LI S TI C S
                                                                               E XPE RT A N D O R DE R F O R E XPE RT
KI M B E R L E E PI T A W A N A K W A T                                        A C C E S S T O T H E DI S C O V E R Y A N D
                D ef e n d a nt                                                E VI D E N C E




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e Ver o ni c a L. D uff y
U nit e d St at es M a gistr at e J u d g e
4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
Si o u x F alls, S D 5 7 1 0 4.


R e: M oti o n f or CJ A f u n di n g t o R et ai n F or e nsi c Fir e ar ms a n d B allisti cs E x p ert a n d Or d er F or D ef e ns e

A c c ess t o t h e Dis c o v er y a n d E vi d e n c e :




                                      E X HI BI T C

                                                                   P a g e 1 of 1
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 27 of 30 PageID #: 1162
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 28 of 30 PageID #: 1163
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 29 of 30 PageID #: 1164
Case 5:20-cr-50122-KES Document 235 Filed 06/14/23 Page 30 of 30 PageID #: 1165
